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                                                                     USDC-SDNY
UNITED STATES DISTRICT COURT                                         DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                        ELECTRONICALLY FILED
                                                                     DOC#:
 ULLOA,                                                              DATE FILED: 1-11-21

                              Plaintiff,
                                                                        20-CV-3391 (RA)
                         v.
                                                                             ORDER
 HEIDIMAN, et al.,

                              Defendants.



RONNIE ABRAMS, United States District Judge:

         On November 16, 2020, this Court ordered Plaintiff to either file an opposition to Defendants’

motion to dismiss or file a letter informing the Court that he intended to proceed with his lawsuit. Dkt.

20. In its November 16 Order, the Court informed Plaintiff that failure to do so by December 28, 2020

may result in dismissal for failure to prosecute pursuant to Rule 41(b) of the Federal Rules of Civil

Procedure. Id.

         To date, Plaintiff has filed neither an opposition to Defendants’ motion to dismiss or a letter

informing the Court that he intended to proceed with his lawsuit. No later than February 8, he shall do

so. Failure to comply with the Court’s order will result in dismissal of this action for failure to

prosecute under Federal Rule of Civil Procedure 41(b).

         The Clerk of Court is respectfully directed to mail a copy of this order to Plaintiff.

SO ORDERED.

Dated:      January 11, 2021
            New York, New York

                                                    RONNIE ABRAMS
                                                    United States District Judge
